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                  EXHIBIT K
(22) Samuel Wood | LinkedIn                                                                                               https://www.linkedin.com/in/samwood/
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                                    Samuel Wood
                                    Tech Ninja for Audrey Capital


                                  • Audrey Capital


                                  • Missouri University of Science and Technology
                                    Memphis, Tennessee, United States · Contact info
                                    101 connections

                                         Connect          Message         More




                                    About
                                    Computer software analyst, designer, programmer with experience on a wide variety
                                    of systems and languages. Primary focus on networking and server design. Minor
                                    experience with embedded software for handheld devices and industrial applications.
                                    Wide knowledge of internet and web-based software design.…              …see more




                                    Activity
                                    111 followers

                                    Samuel hasn’t posted yet
                                    Recent posts Samuel shares will be displayed here.


                                                                   Show all activity



                                    Experience

                                             Tech Ninja

                                             Audrey Capital
                                             Working on WordPress.org, among other things.
                                             Jun 2010 - Present · 14 yrs 6 mos

                                                               Speakers: Samuel "Otto" Wood
                                                               Videos of talks at various WordCamps




                                             Senior Programmer Analyst

                                             AutoZone
                                             Senior Programmer Analyst, with emphasis on production support, mostly
                                             Jun 2009 - Jun 2010 · 1 yr 1 mo
                                             for commercial business and Linux or other unix-like servers.



                                             Software Engineer

                                             Verified Person
                                             Java and PHP development for both internal and customer-facing web
                                             May 2008 - Jan 2009 · 9 mos
                                             applications.



                                             Senior Programmer Analyst




1 of 4                                                                                                                                    11/3/2024, 10:08 PM
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                                            AutoZone
                                            Senior Programmer Analyst, with emphasis on commercial business and
                                            Apr 2004 - May 2008 · 4 yrs 2 mos
                                            server design. Designed, wrote, and maintained server systems which hand…



                                            Software Engineer

                                            Dynetics, Inc.
                                            Designed and wrote server systems for use in automotive manufacturing
                                            Aug 1999 - Aug 2003 · 4 yrs 1 mo
                                            plants. Helped create Current Based Testing system, used for testing vehicl…




                                   Education

                                            Missouri University of Science and Technology

                                            Bachelor's,and
                                            Activities  Computer
                                                           societies:Science
                                                                      Sigma Pi, Association for Computing Machinery
                                            1994 - 1999




                                   Skills
                                   XML
                                       5 endorsements



                                   MySQL
                                       3 endorsements


                                                                  Show all 20 skills



                                   Recommendations
                                   Received       Given




                                            Paul Ryburn


                                            Professional Writer | Open to Freelance Work | Computer Science
                                            I worked with Sam on PHP and open source projects at Verified Person in
                                            Background
                                            the summer and fall of 2008. Sam is one of the most talented programmers
                                            July 18, 2009, Paul worked with Samuel on the same team
                                            I have ever met. He embraces new technology and is someone I can always
                                            turn to for advice. While we worked together he built some really neat
                                            applications using the Zend Framework for PHP using the MVC model. He is
                                            also a major contributor to the WordPress codebase, and I have learned a
                                            lot from him in that area as well. If I needed to hire for an IT department
                                            Sam is without a doubt one of the first people I would call.




                                                                                        Promoted

                                   Interests
                                   Companies        Groups        Schools
                                                       FARO Public Safety




2 of 4                                                                                                                                     11/3/2024, 10:08 PM
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                                           Senior Director of Engineering at Pinterest, Ads Delivery Infra
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                                           Gary (Bin) Chang · 3rd+
                                           Builders with experience from both large tech and lean startups
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                                           Deepti Dhawan · 3rd+
                                           Tech Lead at Tech Mahindra | Ex Globallogic | Ex Educomp
                                           Audrey Capital
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